             Case 1:22-cv-01302-DH Document 26 Filed 06/30/23 Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

 DIGERATI DISTRIBUTION &
 MARKETING, LLC,

                    Plaintiff,

        v.                                          Civil Action No. 1:22-cv-1302-DII

 CONRADICAL SÀRL; and
 CONRAD GRINDHEIM,

                    Defendants.

 CONRADICAL SÀRL,

                    Counter Plaintiff,

        v.

 DIGERATI DISTRIBUTION &
 MARKETING, LLC; BIG SUGAR LLC; and
 SARAH ALFIERI,

                    Counter Defendants.


            PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF
  TIME TO FILE REPLY IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
       Plaintiff Digerati Distribution & Marketing LLC respectfully requests that the Court

extend Digerati’s deadline to file its reply in support of its Motion for Preliminary Injunction

[ECF No. 18] to July 10, 2023, and in support, Digerati states as follows:

                                         BACKGROUND

       Digerati filed its Motion for Preliminary Injunction on June 14, 2023 [ECF No. 18].

On June 28, 2023, Defendants filed their Response to the Motion [ECF No. 23]. Pursuant to

Local Rule CV-7(E), the deadline for Digerati to serve its reply is July 5, 2023.




                                             –1–
          Case 1:22-cv-01302-DH Document 26 Filed 06/30/23 Page 2 of 4




                                ARGUMENTS & AUTHORITIES

       The Court may grant extensions of time prior to the expiration of a deadline for “good

cause.”   FED. R. CIV. P. 6(b). A party satisfies the good-cause standard by showing it

cannot meet the deadlines at issue despite acting diligently. S&W Enters., LLC v. SouthTrust

Bank of Ala., NA, 315 F.3d 533, 535 (5th Cir. 2003).

       Good cause exists for the Court to grant Digerati’s request for a 5-day extension of

Digerati’s deadline to file a reply to July 10, 2023. This Motion is Digerati’s first request for

an extension of this deadline. After conferring, Defendants’ counsel indicated that they are

not opposed to the deadline for Digerati’s reply being July 10, 2023.     Moreover, Digerati is

preparing its reply and analyzing the factual claims and materials cited in support, but it needs

additional time to finalize its reply in light of the Fourth of July holiday weekend and the

resulting unavailability of Digerati’s representatives. Further, Digerati seeks a brief

extension to ensure the Motion is expeditiously resolved. This request will not unduly delay

these proceedings or cause Counter Plaintiffs any undue hardship.

       Digerati believes this approximately 5-day extension would provide a reasonable

amount of time for it to compensate for the holiday weekend and diligently prepare its reply.

Accordingly, Digerati requests that the Court extend the time for Digerati to file a reply in

support of its Motion for Preliminary Injunction to July 10, 2023.

                                         CONCLUSION

       For the foregoing reasons, Digerati respectfully requests that this Court grant this

Motion by ordering that the deadline for Digerati to serve a reply to the Motion for

Preliminary Injunction is July 10, 2023.




                                             –2–
       Case 1:22-cv-01302-DH Document 26 Filed 06/30/23 Page 3 of 4




Dated: June 30, 2023                Respectfully,




                                    JAMES H. CREEDON
                                    Texas Bar No. 24092299
                                    jhcreedon@creedon.com
                                    CHRISTIAN COWART
                                    Texas Bar No. 24105748
                                    ccowart@creedon.com

                                    CREEDON PLLC
                                    5 Cowboys Way, Suite 300
                                    Frisco, Texas 75034
                                    Tel: (972) 850-6864
                                    Fax: (972) 920-3290


                                    COUNSEL FOR PLAINTIFF
                                    DIGERATI DISTRIBUTION &
                                    MARKETING, LLC




                                   –3–
          Case 1:22-cv-01302-DH Document 26 Filed 06/30/23 Page 4 of 4




                               CERTIFICATE OF CONFERENCE

       I hereby certify that, on June 29, 2023, counsel for Plaintiff conferred with Defendants’

counsel by e-mail in a good-faith attempt to resolve the relief requested in this Motion, and

that Defendants’ counsel indicated that they are not opposed to any of the relief requested in

this Motion.




                                             CHRISTIAN COWART

                                  CERTIFICATE OF SERVICE

       I certify that, on June 30, 2023, the foregoing document has been filed unsealed with

the Clerk via the Court’s CM/ECF system and served to the following who are deemed to

have consented to electronic service via the Court’s NEF system or the registered users’ e-

mail accounts per Rule 5(b), Local Rule CV-5(a), and Electronic Filing Procedures § 14(a):

 Arthur Gollwitzer , III
 JACKSON WALKER LLP
 100 Congress Avenue                                     Conradical Sarl
                                          representing
 Suite 1100                                              (Defendant & Counter Plaintiff)
 Austin, TX 78701
 agollwitzer@jw.com

                                                         Conrad Grindheim
                                                         (Defendant)




                                             CHRISTIAN COWART



                                             –4–
